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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

  KAWA ORTHODONTICS LLP, a Florida                  )
  limited liability partnership, individually and   )
  as the representative of a class of similarly-    )
  situated persons,                                 )
                                                    )
                         Plaintiff,                 )   Civil Action No:
                                                    )
                 v.                                 )   CLASS ACTION
                                                    )
  MEDXCOM LLC, a Delaware limited                   )
  liability company, and GIFFEN                     )
  SOLUTIONS, INC., a Delaware                       )
  corporation,                                      )
                                                    )
                         Defendants.                )

                                  CLASS ACTION COMPLAINT

         Plaintiff, KAWA ORTHODONTICS LLP (“Plaintiff”), brings this action on behalf of

  itself and all others similarly situated, through its attorneys, and except as to those allegations

  pertaining to Plaintiff or its attorneys, which allegations are based upon personal knowledge,

  alleges the following upon information and belief against Defendants, EMEDPRACTICE, LLC

  (“Defendants”):

                                      PRELIMINARY STATEMENT

         1.      This case challenges Defendants’ practice of sending unsolicited facsimiles.

         2.      The federal Telephone Consumer Protection Act of 1991, as amended by the Junk

  Fax Prevention Act of 2005 (“JFPA”), 47 USC § 227 (hereafter “TCPA” or the “Act”), and the

  regulations promulgated under the Act, prohibit a person or entity from faxing or having an agent

  fax advertisements without the recipient’s prior express invitation or permission. The TCPA

  provides a private right of action and provides statutory damages of $500 per violation.
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         3.      On or about January 21, 2020, Defendants sent Plaintiff an unsolicited fax

  advertisement in violation of the TCPA (“the Fax”), a true and correct copy of which is attached

  hereto as Exhibit A, and made a part hereof. Upon information and belief, Defendants have sent

  the Fax and other facsimile transmissions of unsolicited advertisements to Plaintiff and the Class

  in violation of the TCPA. The Fax describes the commercial availability or quality of

  Defendants’ property, goods or services, namely, Defendants’ HIPAA-Compliant Automated

  Answering Service. (See Exhibit A). Plaintiff alleges on information and belief that Defendants

  have sent, and continue to send, unsolicited advertisements via facsimile transmission in

  violation of the TCPA, including but not limited to the advertisement sent to Plaintiff.

         4.      Unsolicited faxes damage their recipients. A junk fax recipient loses the use of its

  fax machine, paper, and ink toner. An unsolicited fax wastes the recipient’s valuable time that

  would have been spent on something else. A junk fax intrudes into the recipient’s seclusion and

  violates the recipient’s right to privacy. Unsolicited faxes occupy fax lines, prevent fax machines

  from receiving authorized faxes, prevent their use for authorized outgoing faxes, cause undue

  wear and tear on the recipients’ fax machines, and require additional labor to attempt to discern

  the source and purpose of the unsolicited message.

         5.      Plaintiff alleges on information and belief that Defendants have sent, and continue

  to send, unsolicited advertisements via facsimile transmission in violation of the TCPA,

  including but not limited to the advertisement sent to Plaintiff.

         6.       On behalf of itself and all others similarly situated, Plaintiff brings this case as a

  class action asserting claims against Defendants under the TCPA. Plaintiff seeks to certify a class

  which were sent the Fax and other unsolicited fax advertisements that were sent without prior

  express invitation or permission and without compliant opt-out language (to the extent the




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  affirmative defense of established business relationship is alleged). Plaintiff seeks statutory

  damages for each violation of the TCPA and injunctive relief.

           7.    Plaintiff is informed and believes, and upon such information and belief avers,

  that this action is based upon a common nucleus of operative facts because the facsimile

  transmissions at issue were and are being done in the same or similar manner. This action is

  based on the same legal theory, namely liability under the TCPA. This action seeks relief

  expressly authorized by the TCPA: (i) injunctive relief enjoining Defendants, their employees,

  agents, representatives, contractors, affiliates, and all persons and entities acting in concert with

  them, from sending unsolicited advertisements in violation of the TCPA; and (ii) an award of

  statutory damages in the minimum amount of $500 for each violation of the TCPA, and to have

  such damages trebled, as provided by § 227(b)(3) of the Act in the event willfulness in violating

  the TCPA is shown..

                                   JURISDICTION AND VENUE

           8.    This Court has subject matter jurisdiction under 28 U.S.C. § 1331 and 47 U.S.C.

  § 227.

           9.    This Court has personal jurisdiction over Defendants because Defendants transact

  business within this judicial district, have made contacts within this judicial district, and/or have

  committed tortious acts within this judicial district.

                                               PARTIES

           10.   Plaintiff, KAWA ORTHODONTICS LLP, is a Florida limited liability

  partnership.

           11.   Defendant, MEDXCOM LLC, is a Delaware limited liability company and

  Defendant, GIFFEN SOLUTIONS, INC., is a Delaware corporation. Defendants’ principal

  place of business is in New Jersey.

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                                                  FACTS

         12.       On or about January 21, 2020, Defendants sent an unsolicited facsimile to

  Plaintiff using a telephone facsimile machine, computer, or other device. See Exhibit A.

         13.       The Fax states, in part, as follows:


               MedXCom
               THE BETTER WAY TO TAKE CALL

         Is Your Answering Service…
                           Overpriced? Error-Prone? Antiquated?

               Then it’s time to learn about MedXCom

         HIPAA-Compliant Automated Answering Service

         iOS and Android App
         Caller ID Protection
         Transfer Call Coverage
         Change Contact Rules (Call or Test)
         Access Voice Messages

         Protect Your Practice
         Record All Calls (Archived for 23 Years)
         Securely Text with Colleagues and Patients

         Customizable Phone Tree/Prompts

  The Fax offers a 30-day free trial and provides monthly subscription costs. It includes the

  following contact information: 877.633.9776             www.medx.com   sales@medx.com.

         14.       The Fax advertises the commercial availability and quality of Defendants’

  automated answering service.

         15.       Defendants created or made Exhibit A, or directed a third party to do so, and

  Exhibit A was sent by or on behalf of Defendants with Defendants’ full knowledge and

  authorization.




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             16    Defendants receives some or all of the revenues from the sale of the services

  advertised on Exhibit A, and Defendants profits and benefits from the sale of said services

  advertised on Exhibit A.

             17.   Plaintiff did not give Defendants “prior express invitation or permission” to send

  the fax.

          18.      On information and belief, Defendants faxed the same and other unsolicited

  facsimiles advertisements without the required opt-out language to Plaintiff and at least 40 other

  recipients or sent the same and other advertisements by fax with the required opt-out language

  but without first receiving the recipients’ express invitation or permission and without having an

  established business relationship as defined by the TCPA and its regulations.

          19.      There is no reasonable means for Plaintiff (or any other class member) to avoid

  receiving unauthorized fax advertisements. Fax machines are left on and ready to receive the

  urgent communications their owners desire to receive.

             20.   Defendants’ facsimile attached as Exhibit A does not display a proper opt-out

  notice as required by 47 C.F.R. § 227(b)(1)(C) and 47 C.F.R. § 64.1200(a)(4).

                                  CLASS ACTION ALLEGATIONS

             21.   In accordance with Fed. R. Civ. P. 23(b)(3), Plaintiff brings this class action

  pursuant to the TCPA, on behalf of the following class of persons:

                   All persons who (1) on or after four years prior to the filing of this
                   action, (2) were sent telephone facsimile messages of material
                   advertising the commercial availability or quality of any property,
                   goods, or services by or on behalf of Defendants, (3) from whom
                   Defendants did not obtain “prior express invitation or permission”
                   to send fax advertisements, or (4) with whom Defendants did not
                   have an established business relationship, and (5) where the fax
                   advertisements did not include an opt-out notice compliant with 47
                   C.F.R. § 64.1200(a)(4).




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  Excluded from the Class are Defendants, their employees, agents and members of the Judiciary.

  Plaintiff seeks to certify a class which includes, but is not limited to, the fax advertisement sent

  to Plaintiff. Plaintiff reserves the right to amend the class definition upon completion of class

  certification discovery.

         22.       Class Size (Fed. R. Civ. P. 23(a)(1)): Plaintiff is informed and believes, and upon

  such information and belief avers, that the number of persons and entities of the Plaintiff Class is

  numerous and joinder of all members is impracticable. Plaintiff is informed and believes, and

  upon such information and belief avers, that the number of class members is at least forty.

         23.       Commonality (Fed. R. Civ. P. 23(a)(2)): Common questions of law and fact

  apply to the claims of all class members. Common material questions of fact and law include, but

  are not limited to, the following:

                   (a)    Whether the Fax and other faxes sent during the class period constitute

         advertisements under the TCPA and its implementing regulations;

                   (b)    Whether Defendants meets the definition of “sender” for direct TCPA

         liability, meaning a “person or entity on whose behalf a facsimile unsolicited

         advertisement is sent or whose goods or services are advertised or promoted in the

         unsolicited advertisement,” 47 C.F.R. § 64.1200(f)(10);

                   (c)    Whether Defendants had prior express invitation or permission to send

         Plaintiff and the class fax advertisements;

                   (d)    Whether the Fax(es) contain an “opt-out notice” that complies with the

         requirements of § (b)(1)(C)(iii) of the Act, and the regulations promulgated thereunder,

         and the effect of the failure to comply with such requirements;

                   (e)    Whether Defendants should be enjoined from faxing advertisements in the

         future;

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                 (f)     Whether Plaintiff and the other members of the class are entitled to

         statutory damages; and

                 (g)     Whether the Court should award treble damages.

         24.     Typicality (Fed. R. Civ. P. 23 (a) (3)): Plaintiff's claims are typical of the claims

  of all class members. Plaintiff received the same or similar faxes as the faxes sent by or on behalf

  of Defendants advertising the commercial availability or quality of Defendants’ property, goods,

  or services during the Class Period. Plaintiff is making the same claims and seeking the same

  relief for itself and all class members based upon the same federal statute. Defendants have

  acted in the same or in a similar manner with respect to Plaintiff and all the class members by

  sending Plaintiff and each member of the class the same or similar faxes or faxes which did not

  contain the proper opt-out language or were sent without prior express invitation or permission.

         25.     Fair and Adequate Representation (Fed. R. Civ. P. 23 (a) (4)): Plaintiff will fairly

  and adequately represent and protect the interests of the class. It is interested in this matter, has

  no conflicts, and has retained experienced class counsel to represent the class.

         26.     Predominance and Superiority (Fed. R. Civ. P. 23 (b) (3)): Common questions of

  law and fact predominate over any questions affecting only individual members, and a class

  action is superior to other methods for the fair and efficient adjudication of the controversy

  because:

                 (a)     Proof of the claims of Plaintiff will also prove the claims of the class

         without the need for separate or individualized proceedings;

                 (b)     Evidence regarding defenses or any exceptions to liability that Defendants

         may assert and attempt to prove will come from Defendants’ records and will not require

         individualized or separate inquiries or proceedings;




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               (c)     Defendants have acted and is continuing to act pursuant to common

        policies or practices in the same or similar manner with respect to all class members;

               (d)     The amount likely to be recovered by individual class members does not

        support individual litigation. A class action will permit a large number of relatively small

        claims involving virtually identical facts and legal issues to be resolved efficiently in one

        proceeding based upon common proofs; and

               (e)     This case is inherently manageable as a class action in that:

                       (i)     Defendants identified persons to receive the fax transmissions and

               it is believed that Defendants’ and/or Defendants’ agents’ computers and business

               records will enable Plaintiff to readily identify class members and establish

               liability and damages;

                       (ii)    Liability and damages can be established for Plaintiff and the class

               with the same common proofs;

                       (iii)   Statutory damages are provided for in the statute and are the same

               for all class members and can be calculated in the same or a similar manner;

                       (iv)    A class action will result in an orderly and expeditious

               administration of claims and it will foster economics of time, effort and expense;

                       (v)     A class action will contribute to uniformity of decisions

               concerning Defendants’ practices; and

                       (vi)    As a practical matter, the claims of the class are likely to go

               unaddressed absent class certification.




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                Claim for Relief for Violation of the TCPA, 47 U.S.C. § 227 et seq.

         27.     The TCPA makes it unlawful for any person to “use any telephone facsimile

  machine, computer or other device to send, to a telephone facsimile machine, an unsolicited

  advertisement . . . .” 47 U.S.C. § 227(b)(1)(C).

         28.     The TCPA defines “unsolicited advertisement” as “any material advertising the

  commercial availability or quality of any property, goods, or services which is transmitted to any

  person without that person's prior express invitation or permission, in writing or otherwise.”

  47 U.S.C. § 227 (a) (5).

         29.     Opt-Out Notice Requirements. The TCPA strengthened the prohibitions against

  the sending of unsolicited advertisements by requiring, in § (b)(1)(C)(iii) of the Act, that senders

  of faxed advertisements place a clear and conspicuous notice on the first page of the transmission

  that contains the following among other things (hereinafter collectively the “Opt-Out Notice

  Requirements”):

                 (1)     A statement that the recipient is legally entitled to opt-out of receiving

         future faxed advertisements – knowing that he or she has the legal right to request an opt-

         out gives impetus for recipients to make such a request, if desired;

                 (2)     A statement that the sender must honor a recipient’s opt-out request within

         30 days and the sender’s failure to do so is unlawful – thereby encouraging recipients to

         opt-out, if they did not want future faxes, by advising them that their opt-out requests will

         have legal “teeth”;

                 (3)     A statement advising the recipient that he or she may opt-out with respect

         to all of his or her facsimile telephone numbers and not just the ones that receive a faxed

         advertisement from the sender – thereby instructing a recipient on how to make a valid

         opt-out request for all of his or her fax machines;

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                 (4)     The opt-out language must be conspicuous.

          The requirement of (1) above is incorporated from § (b)(D)(ii) of the Act. The

   requirement of (2) above is incorporated from § (b)(D)(ii) of the Act and the rules and

   regulations of the Federal Communications Commission (the “FCC”) in ¶ 31 of its 2006 Report

   and Order, 21 F.C.C.R. 3787, 2006 WL 901720, which rules and regulations took effect on

   August 1, 2006). The requirements of (3) above are contained in § (b)(2)(E) of the Act and

   incorporated into the Opt-Out Notice Requirements via § (b)(2)(D)(ii). Compliance with the Opt-

   Out Notice Requirements is neither difficult nor costly. The Opt-Out Notice Requirements are

   important consumer protections bestowed by Congress upon the owners of the telephone lines

   and fax machines giving them the right, and means, to stop unwanted faxed advertisements.

          30.    2006 FCC Report and Order. The TCPA, in § (b)(2) of the Act, directed the

   FCC to implement regulations regarding the TCPA, including the TCPA’s Opt-Out Notice

   Requirements and the FCC did so in its 2006 Report and Order, which in addition provides

   among other things:

                 A.      The definition of, and the requirements for, an established business

          relationship for purposes of the first of the three prongs of an exemption to liability under

          § (b)(1)(C)(i) of the Act and provides that the lack of an “established business

          relationship” precludes the ability to invoke the exemption contained in § (b)(1)(C) of the

          Act (See 2006 Report and Order ¶¶ 8-12 and 17-20);

                 B.      The required means by which a recipient’s facsimile telephone number

          must be obtained for purposes of the second of the three prongs of the exemption under §

          (b)(1)(C)(ii) of the Act and provides that the failure to comply with these requirements

          precludes the ability to invoke the exemption contained in § (b)(1)(C) of the Act (See

          2006 Report and Order ¶¶ 13-16);

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                   C.      The things that must be done in order to comply with the Opt-Out Notice

           Requirements for the purposes of the third of the three prongs of the exemption under §

           (b)(1)(C)(iii) of the Act and provides that the failure to comply with these requirements

           precludes the ability to invoke the exemption contained in § (b)(1)(C) of the Act (See

           2006 Report and Order ¶¶ 24-34).

           31.     The Fax. Defendants sent the Fax on or about January 21, 2020, via facsimile

   transmission from telephone facsimile machines, computers, or other devices to the telephone

   lines and facsimile machines of Plaintiff and members of the Plaintiff Class. The Fax constitutes

   an advertisement under the Act and the regulations implementing the Act. Defendants failed to

   comply with the Opt-Out Requirements in connection with the Fax. The Fax was transmitted to

   persons or entities without their prior express invitation or permission and Defendants are

   precluded from sustaining the established business relationship affirmative defense with Plaintiff

   and other members of the class because of the failure to comply with the Opt-Out Notice

   Requirements. By virtue thereof, Defendants violated the TCPA and the regulations promulgated

   thereunder by sending the Fax via facsimile transmission to Plaintiff and members of the Class.

   Plaintiff seeks to certify a class which includes the Fax and all others sent during the four years

   prior to the filing of this case through the present.

           32.     Defendants’ Other Violations. Plaintiff is informed and believes, and upon such

   information and belief avers, that during the period preceding four years of the filing of this

   Complaint and repeatedly thereafter, Defendants have sent via facsimile transmission from

   telephone facsimile machines, computers, or other devices to telephone facsimile machines of

   members of the Plaintiff Class other faxes that constitute advertisements under the TCPA and its

   implementing regulations that were transmitted to persons or entities without their prior express

   invitation or permission and Defendants are precluded from sustaining the established business

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   relationship affirmative defense with Plaintiff and other members of the class because of the

   failure to comply with the Opt-Out Notice Requirements. By virtue thereof, Defendants violated

   the TCPA and the regulations promulgated thereunder. Plaintiff is informed and believes, and

   upon such information and belief avers, that Defendants may be continuing to send unsolicited

   advertisements via facsimile transmission in violation of the TCPA and the regulations

   promulgated thereunder, and absent intervention by this Court, will do so in the future.

          33.     The TCPA provides a private right of action to bring this action on behalf of

   Plaintiff and the Plaintiff Class to redress Defendants’ violations of the Act, and provides for

   statutory damages. 47 U.S.C. § 227(b)(3). The Act also provides that injunctive relief is

   appropriate. Id.

          34.     The TCPA is a strict liability statute, so Defendants are liable to Plaintiff and the

   other class members even if its actions were only negligent.

          35.     Defendants knew or should have known that (a) Plaintiff and the other class

   members had not given prior express invitation or permission for Defendants or anybody else to

   send faxes advertising the commercial availability or quality of Defendants’ automated

   answering service; (b) Plaintiff and the other class members did not have an established business

   relationship; (c) Defendants transmitted advertisements;       (d) the Fax does not contain the

   required Opt-Out Notice, thereby precluding the affirmative defense of established business

   relationship; and (e) Defendants’ transmission of fax advertisements without prior express

   invitation or permission was unlawful.

          36.     Defendants’ actions injured Plaintiff and the other class members. Receiving

   Defendants’ junk faxes caused Plaintiff and the other recipients to lose paper and toner

   consumed in the printing of Defendants’ faxes. Moreover, Defendants’ faxes used Plaintiff's and

   the other class members’ telephone lines and fax machines. Defendants’ faxes cost Plaintiff and

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   the other class members time, as Plaintiff and the other class members and their employees

   wasted their time receiving, reviewing, and routing Defendants’ unauthorized faxes. That time

   otherwise would have been spent on Plaintiff’s and the other class members’ business or

   personal activities. Defendants’ faxes intruded into Plaintiff’s and other class members’

   seclusion and violated their right to privacy, including their interests in being left alone. Finally,

   the injury and property damage sustained by Plaintiff and the other class members from the

   sending of Defendants’ advertisements occurred outside of Defendants’ premises.

          WHEREFORE, Plaintiff, KAWA ORTHODONTICS LLP, individually and on behalf of

   all others similarly situated, demands judgment in its favor and against Defendants, MEDXCOM

   LLC and GIFFEN SOLUTIONS, INC., jointly and severally, as follows:

          A.      That the Court adjudge and decree that the present case may be properly

   maintained as a class action, appoint Plaintiff as the representative of the class, and appoint

   Plaintiff’s counsel as counsel for the class;

          B.      That the Court award actual monetary loss from such violations or the sum of five

   hundred dollars ($500.00) for each violation, whichever is greater, and that the Court award

   treble damages of $1,500.00 if the violations are deemed “willful or knowing”;

          C.      That Court enjoin Defendants from additional violations; and

          D.      That the Court award pre-judgment interest, costs, and such further relief as the

   Court may deem just and proper.

                                                   Respectfully submitted,

                                                   KAWA ORTHODONTICS LLP, individually, and
                                                   as the representative of a class of similarly-situated
                                                   persons

                                          By:      /s/ Ryan M. Kelly
                                                   Ryan M. Kelly – FL Bar No.: 90110


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